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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION


LISA TORREY, et al                  §
                                    §
V.                                  §     CIVIL NO. 5:17cv190
                                    §
INFECTIOUS DISEASES SOCIETY OF §
AMERICA, et al                      §
______________________________________________________________________________

                         MINUTES FOR MOTIONS HEARING
                   HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                 APRIL 23, 2021

OPEN: 10:03 a.m.                                      ADJOURN: 12:47 p.m.
______________________________________________________________________________

ATTORNEYS FOR PLAINTIFFS:                   Daniel Dutko, Eugene Egdorf, Ryan Higgins and
                                            Lance Lee

ATTORNEYS FOR DEFENDANTS:                   Alvin Dunn, Benjamin Holt, Randy Rouser,
                                            Kathryn Shoemaker and Michael Warley

LAW CLERK:                                  Elizabeth Connors

COURTROOM DEPUTY:                           Shedera Combs

COURT REPORTER:                     Kate McAlpine
______________________________________________________________________________
______________________________________________________________________________

(via video conference)

10:03 a.m.    Off-record discussion

10:11 a.m.    Case called; Parties introduce themselves and announce ready; Court welcomes
              everyone and gives preliminary statements and review of motions to be heard

10:14 a.m.    Alvin Dunn argues summary judgment motions

10:30 a.m.    Court advises that order on joint stipulation of dismissal will be entered today
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10:31 a.m.   Daniel Dutko responds to summary judgment motions argument

10:40 a.m.   Court questions re insurance companies denial of treatment claims; Mr. Dutko
             responds

10:42 a.m.   Court questions re appeals; Mr. Dutko responds

10:49 a.m.   Court questions re market; Mr. Dutko responds; Court questions re cases; Mr.
             Dutko responds

10:53 a.m.   Court questions re destroyed or not produced documents; Mr. Dutko responds;
             Court questions re no motion to compel; Mr. Dutko responds; Court questions re
             first time aware; Mr. Dutko responds; Court addresses response; Mr. Dutko
             responds; Lance Lee responds re document production

11:05 a.m.   Court questions re RICO claims; Mr. Dutko responds

11:08 a.m.   Mr. Dunn responds

11:10 a.m.   Court questions re Connecticut Attorney General documents; Mr. Dunn responds

11:21 a.m.   Recess

11:33 a.m.   Mr. Dunn argues motion to dismiss

11:52 a.m.   Mr. Dutko responds to motion to dismiss argument

12:01 p.m.   Mr. Dunn responds

12:07 p.m.   Court questions re motion to stay; Mr. Dutko responds; Mr. Dunn responds; Court
             responds; Mr. Dutko responds; Mr. Dunn responds it can be treated as moot;
             Eugene Egdorf responds; Court asks parties to meet and confer and provide
             response in 14 days; Mr. Egdorf responds; Mr. Dunn responds

12:19 p.m.   Mr. Dunn argues motion for sanctions

12:26 p.m.   Mr. Lee responds to motion for sanctions argument

12:38 p.m.   Mr. Dunn responds

12:40 p.m.   Court questions re prior hearing requests and order; Mr. Dunn responds

12:43 p.m.   Mr. Egdorf comments re settlements and release documents; Benjamin Holt
             responds; Randy Rouser responds
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12:47 p.m.   Adjourn
